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UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF FLORIDA

 

 

JACKSONVILLE DIVISION

FRANK E. POLO, SR.,
Appellant,
V. CASE NO: 18-cv-662-J-39 5
LILLY J. REAL, ©
Appellee,

/

NOTICE OF APPEAL Ga

1. Now comes the Appellant, Frank E. Polo, and hereby gives notice that he is

appealing the Order on the appeal of the bankruptcy court's Order Denying Motion to Dismiss,
Granting Motion for Sanctions, Awarding Attorney's Fees, and Enjoining Appellant from any
Further Attempt to Collect Alleged Pre-Petition Debt from Appellee (Doc. 1.2), decision entered
by this court on the 9 of September, 2019 to. the Eleventh District Court of Appeals.
Respectfully Submitted, Z

a

" Frank Polo Sr.
9619 Fontainebleau Blvd. Apt. 317
Miami, FL. 33135
Telephone: 305-901-3360

FRANKE.POLOSR. Z Cc CS

9619 Fontainebleau Blvd. Apt 317
Miami, FL. 331.72
Phone: 305-901-3360

 

CERTIFICATE OF SERVICE
1 HEREBY CERTIFY that a true and correct copy of the foregoing was furnished to the

following attorney at the following address, Edward P. Jackson P.A, 255 North Liberty Street,
Case 3:18-cv-00662-BJD Document 27 Filed 09/18/19 Page 2 of 2 PagelD 1074

Jacksonville, FL 32202 this 24th day of September 2018, and subsequent hard copy was mailed to

the clerk of courts at: 300 N Hogan St #3-350, Jacksonville, FL 32202.
9619 Fontainebleau Blvd. Apt 317

Miami, FL. 33172
Phone: 305-901-3360
